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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

WAVE NEUROSCIENCE, INC.,

                                Plaintiff,

        vs.                                                   Civil Action No. 5:23-cv-00626-XR



BRAIN FREQUENCY LLC,
                                                              Demand for Jury Trial
                                Defendant.




   DECLARATION OF DR. JARED DEMPSEY’S IN SUPPORT OF DEFENDANT’S
   MOTION FOR SUMMARY JUDGMENT OF INVALIDTY UNDER 35 U.S.C. §101

        1.      I, Jared Dempsey, hereby declare under penalty of perjury that the facts set forth

herein are true and correct to the best of my knowledge and belief, and, if called as a witness, I can

and will testify at trial as to the matters discussed in this disclosure of testimony.

        2.      I have previously submitted two declarations (Dkts. 34-1 and 49-1) in this matter,

pertaining to claim construction issues of the Asserted Patents. The “Asserted Patents” are U.S.

Patent No. 8,926,490 (“’490 Patent”), No. 8,465,408 (“’408 Patent”), and No. 8,870,737 (“’737

Patent”). I understand that the Court has rejected Plaintiff Wave Neuroscience’s arguments that I

do not qualify as a POSITA in the relevant field. (Dkt. 53). I fully incorporate my specific

qualifications relevant to this matter disclosed in my prior two declarations herein.

        3.      I submit this declaration in support of Defendants motion concerning the

patentability of the Asserted Patents. I understand from Defendant’s counsel that the earliest




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priority date of the Asserted Patents is no earlier than Sep. 24, 2008 for the ’490 and ’737 Patents

based on their common parent application No. 12/237,328, now Pat. No. 8,480,554 (invalidated in

PeakLogic); and Aug. 6, 2009 for the ’408 Patent based on its provisional application No.

61/231,928.

        4.      I have reviewed the Declaration Of Martijn Arns, PhD. In Support Of Defendants’

Motion For Summary Judgment Of Invalidity, filed in Wave Neuroscience, Inc. v. PeakLogic, Inc.,

Case No. 3:21-cv-01330-CAB-SBC, Dkt. 207-2. Dr. Arns declaration is relevant here because the

same technology is at issue in this case. Indeed, I have been informed by Defendant’s counsel that

the patents discussed by Dr. Arns are in the same patent families as two of the patents I am

considering here: the asserted ’490 Patent is a continuation-in-part of the invalidated ’554 Patent,

and the asserted ’737 Patent claims priority from the same provisional application (61/260,779) as

the invalidated ’259 Patent. I have further been informed by Defendant’s counsel that the

PeakLogic Court later vacated its invalidation order on procedural grounds that did not pertain to

the technical analysis provided by Dr. Arns. That later order does not affect my analysis which

focuses solely on the technical aspects of the patents at issue in this matter.

        5.      I agree with Dr. Arns’ representations and analysis fully, and have incorporated the

relevant portions thereof in my instant declaration. Everything set forth in my declarations,

including portions adopted from Dr. Arns’ declaration, accurately set forth my expert opinion, and

I am available to testify truthfully and accurately thereto to the best of my ability.

        6.      The purpose of this declaration is to present facts regarding the existence,

publication dates, and content of scientific literature, as well as to provide my expert opinions on

the meaning and interpretation of that literature in the context of the patent claims at issue.




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                                      THE HUMAN BRAIN

        7.      The human nervous system is made up of microscopic cells called neurons. These

neurons, especially pyramidal neurons, carry electrical pulses called action potentials that give rise

to post-synaptic ionic current flow referred to as excitatory or inhibitory post-synaptic potentials

(EPSP or IPSP respectively). The coordinated summation of EPSPs and IPSPs across cortical

neuronal clusters generates field potentials, which contribute to the wave-like activity measured

outside the skull as electroencephalographic (EEG) signals.. 1 EEG activity primarily reflects

rhythmic and sinusoidal patterns of brain activity, though it can also include irregular or transient

components. Like any repeated event, these oscillatory patterns occur at specific frequencies,

expressed in Hz.. 2

        8.      Individual neurons firing in the human brain—and their associated field

potentials— do not fire at a uniform frequency; rather, at any given time, different neurons and

groups of neurons are simultaneously firing at different times and frequencies (e.g. delta, theta and

alpha; but also at different frequencies within a band, e.g. the alpha band), and the frequencies are

changing, moment to moment. 3 When multiple neurons are grouped together—as in physical areas

of the brain which contain billions of individual neurons—neurons tend to fire synchronously such

that many of the neurons fire at approximately the same time, and the cumulative effect of these

field potentials are detectable as electrical signals commonly known as “brainwaves.” Brainwaves




1
  Ex. 2 (Speckmann, Erwin-Josef et al., Introduction to the Neurophysiological Basis of the EEG
and DC Potentials, ELECTROENCEPHALOGRAPHY: BASIC PRINCIPLES, CLINICAL APPLICATIONS,
AND RELATED FIELDS Chap. 2, 15-27 (Lippincott Williams & Wilkins, 4th ed. 1999)).
2
  Ten (10) firings per second is equivalent to 10 Hz.
3
  Ex. 4 (Steriade, Mircea, Cellular Substrates of Brain Rhythms, ELECTROENCEPHALOGRAPHY:
BASIC PRINCIPLES, CLINICAL APPLICATIONS, AND RELATED FIELDS, Chap. 3, 28-75 (Lippincott
Williams & Wilkins, 4th ed. 1999) (“Steriade”)).

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can be measured using electroencephalography (“EEG”) 4 and EEG measurements in turn exhibit

frequencies. These naturally occurring frequencies exhibited by brainwaves, which arise from

different parts of the human brain, are referred to as the brain’s “intrinsic frequencies.” In humans,

brainwaves are typically grouped and categorized by the frequency bands in which they occur.

There are many human brainwave frequency bands, including but not limited to alpha (8-13 Hz),

delta (1-4 Hz), and theta (4-7 Hz). 5 Of particular interest in this case are alpha waves, which were

discovered by Hans Berger, the inventor of the human EEG, in 1924 (and published in 1929). 6

                                    BRAIN ENTRAINMENT

        9.      The term “entrainment” describes a shared tendency of many physical and

biological systems to synchronize their periodicity and rhythm through interaction. The physics

concept of entrainment was already described by Dutch Physicist Christiaan Huygens in 1665,

who observed that the sway of two pendulums mounted on the same support became synchronized

in phase and frequency. This synchronization occurs because small amounts of energy are

transferred between the systems when they are out of phase, creating negative feedback that

stabilizes their phase relationship. As they assume a more stable phase relationship, the amount

of energy gradually reduces to zero, with systems of greater frequency slowing down, and the other

speeding up. Scientists have long known and observed that, when the brain is stimulated by an

external rhythm, the neurons in the brain attempt to synchronize their firing with external rhythmic

stimulus. This concept is called entrainment and was first described in 1934 by Adrian and




4
  See Ex. 3 (EEG (electroencephalogram), https://www.mayoclinic.org/tests-
procedures/eeg/about/pac-20393875 (last visited Feb. 6, 2025)).
5
  Ex. 4 (Steriade).
6
  Ex. 5 (Ince, Rumeysa et al., The inventor of electroencephalography (EEG): Hans Berger (1873-
1941), 37 CHILD’S NERVOUS SYSTEM 2723-24 (2021)).

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Matthews (“Adrian and Matthews”). 7 The Adrian and Matthews report demonstrated that the

brain’s intrinsic frequency in the visual cortex—as measured using EEG—could be entrained to

the same frequency as a visual flicker applied externally. Similar results have been found for other

rhythmic stimuli, such as acoustic stimuli (i.e., sounds). 8 Scientists have also established that

changes to the brain’s intrinsic frequencies may be made by applied electromagnetic fields, such

as those generated by mobile phones. 9

         REPETITIVE TRANSCRANIAL MAGNETIC STIMULATION (“rTMS”)

        10.     Transcranial Magnetic Stimulation (or “TMS”) is a non-invasive method of

affecting the brain. 10 “Magnetic” means that the stimulation is accomplished through magnetic

pulses or magnetic fields, rather than, for example, surgery or electrical shocks. “Transcranial”

refers to the fact that the magnetic fields pass through the cranium (or skull) of the subject to affect

the brain of the subject. And “stimulation” simply means that the magnetic field and/or pulses act

on the brain in some fashion.




7
  Ex. 6 (Adrian, E.D. & Matthews, B.H.C., The Interpretation of Potential Waves In The Cortex,
81 The Journal of Physiology 440-71 (1934) “Adrian & Matthews”)).
8
   See Ex. 7 (Will, Udo & Berg, Eric, Brain Wave synchronization and entrainment to periodic
acoustic stimuli, 424 Neuroscience Letters 55-60 (2007) (“Will & Berg”)).
9
  See, e.g., Ex. 8 (Gavalas, R.J. et al., Effect of Low-Level, Low-Frequency Electric Fields on EEG
and Behavior in Macaca Nemestrina, 18 BRAIN RESEARCH 491-501 (1970) (“Gavalas”)); Ex. 9
(Bawin, S.M. et al., Effects of Modulated Very High Frequency Fields on Specific Brain Rhythms
in Cats, 58 BRAIN RESEARCH 365-84 (1974) (“Bawin”)); Ex. 10 (Bell, Glenn B. et al., Frequency-
specific Responses in the Human Brian Caused by Electromagnetic Fields, 123 JOURNAL OF THE
NEUROLOGICAL SCIENCES 26-32 (1994) (“Bell”)); Ex. 11 (Cook, Charles M. et al., Resting EEG
Effects During Exposure to a Pulsed ELF Magnetic Field, 26 BIOELECTROMAGNETICS 367-76
(2005) (“Cook”)); Ex. 12 (Arns, Martijn et al., Electroencephalographic, Personality, & Executive
Function Measures Associated with Frequent Mobile Phone Use, 117 Int’l Journal of
Neuroscience 1341-60 (2007; received June 1, 2006) (“Arns 2006”)).
10
    See Ex. 13 (Klimesch, Wolfgang et al, SHORT COMMUNICATION: Enhancing cognitive
performance with repetitive transcranial magnetic stimulation at human individual alpha
frequency, 17 EUROPEAN JOURNAL OF NEUROSCIENCE, 1129-33 (2003) (“Klimesch-2003”)).

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        11.     TMS involves the use of magnets and magnetic fields applied to the head of a

subject—”magnets” are simply the devices that generate the magnetic field and thereby the

“magnetic stimulation” or “transcranial magnetic stimulation.” While, in theory, either permanent

or electromagnets could be used, in practice, most TMS machines use electromagnets.. 11

Similarly, in practice, the magnets must be placed directly on, or very close to, the head of a subject

(within a few inches), because the physics of magnetic fields (specifically, the inverse-square law)

causes the strength of the magnetic field to weaken proportional to the square of the distance

between the target (the brain) and the magnet. Thus, absent extraordinary circumstances, it is

almost always preferable to place the magnet (or magnetic coil generator) as close as possible to

the head of the patient, if not on the head.

        12.     The use of magnetic fields with strengths in the range described by the Asserted

Patents (10 Gauss to 4 Tesla— which are the units used to define the strengths of magnets) was

widely known and in common use prior to the earliest possible priority date of the Asserted Patents,

September 2007. 12

        13.     As discussed above, the application of electromagnetic fields (EMFs) to the brain

and assessment of changes in the brain’s electrical activity due to those fields can be measured

using EEGs, and this process has been extensively described since at least the 1970s. 13




11
   See, e.g., Ex. 14 (U.S. Pat. App. Pub. 2005/0256539A1 (Nov. 17, 2005) (“George”) (reciting
both “permanent magnet(s)” and “current pulse” a/k/a electromagnets at ¶ 0127))
12
    See, e.g., Ex. 15 (Yi Jin et al., Therapeutic Effects of Individualized Alpha Frequency
Transcranial Magnetic Stimulation (⍺TMS) on the Negative Symptoms of Schizophrenia, 32
SCHIZOPHRENIA BULLETIN 556 61 at 556 (Oct. 27, 2005) (“Intensity—Generally quantified for
each individual as a percentage of the threshold at which motor activity can be elicited (~1-2
Tesla)”) (“Jin-2005”)).
13
   See, e.g., Ex. 8 (Gavalas); Ex. 9 (Bawin); Ex. 10 (Bell).

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        14.     TMS has been in use as a research and therapeutic technique since at least 1985. 14

TMS was originally administered as a single pulse, meaning the magnetic field was administered

in a single pulse with a specific duration, called the pulse width. However, in the early 1990s,

multiple pulses began to be administered in repeated bursts. Repeated pulses became known as

“rapid” or “repetitive” TMS a/k/a “rTMS.”

        15.     Mathematically, any repeated series of events-including the magnetic field pulses

of rTMS-inherently has a measurable “frequency.” Frequency is simply the measurement of how

often the events occur and, with respect to rTMS, is measured in pulses per second (“pps”), the

scientific unit of which is Hertz (“Hz”). One Hz means 1 pulse per second, 10 Hz means 10 pulses

per second, and so on. In the context of EEG measurements, ranges of frequencies are commonly

referred to as “frequency bands.” However, a TMS machine stimulates only a single frequency at

a time, not an entire frequency band.

        16.     Generally, to use a TMS device, it needs to be configured by selecting certain

operational characteristics, including the frequency of the magnetic pulse. Early on, rTMS was

administered at a variety of frequencies, including, but not limited to, .25 Hz, .5 Hz, 5 Hz, 10 Hz,

and 20 Hz. 15




14
   See Ex. 16 (Horvath, Jared C. et al, Transcranial Magnetic Stimulation: A Historical evaluation
and future prognosis of therapeutically relevant ethical concerns, 37 JOURNAL OF MEDICAL
ETHICS 137-43 (“Horvath 2011”)).
15
   See Ex. 13 (Klimesch-2003); Ex. 16 (Horvath 2011); Ex. 17 (Lisanby, Sarah H., Transcranial
Magnetic Stimulation in Psychiatry: historical reflections and future directions, 19 BIOLOGICAL
PSYCHIATRY 486-90 (Mar. 15, 2024)).

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        17.     The ultimate clinical goal of TMS and rTMS is and has been to treat or provide

relief from symptoms of mental illness, and otherwise to improve cognitive function. rTMS has

been used to treat depression and schizophrenia since at least 1997. 16

        18.     In 2003, several years before the priority date of the Asserted Patents, Klimesch et

al. published Enhancing cognitive performance with repetitive transcranial magnetic stimulation

at human individual alpha frequency. European Journal of Neuroscience, Vol. 17, pp. 1129-1133,

2003 (Ex. 13, “Klimesch-2003”). Klimesch-2003describes rTMS experiments where he initially

measured the subject’s intrinsic alpha frequency (“IAF”) and then administered rTMS therapy at

that measured frequency + 1 Hz. During these experiments, he also administered, as a control

condition, rTMS at other frequencies at a variety of frequencies below IAF (e.g., IAF - 5 Hz, IAF

- 3 Hz, etc.) See Ex. 13 (Klimesch-2003 at 1132 (page 4 of PDF)). This research shows that rTMS

was known and used years before the priority dates of the Asserted Patents as a treatment for

various symptoms, and that it was administered both at patients’ intrinsic frequencies ( e.g., “TMS

at IAF”) and at other pre-selected frequencies in the alpha band or sub-bands near IAF. To be clear,

while TMS can be applied within a frequency band, it cannot stimulate an entire frequency band

simultaneously. In other words, TMS can be administered at 10 Hz, which is a specific frequency

within the alpha band of frequencies. However, TMS cannot be administered to or at an entire

band of frequencies simultaneously.

        19.     Taking the EEG of a patient before and after the patient undergoes TMS therapy,

or other types of brain entrainment such as EMF exposure or photic stimulation, was also well

known at the time of the Asserted Patents. For example, as discussed above, the Adrian and


16
  Ex. 18 (Geller et al., Slow Magnetic Stimulation Of Prefrontal Cortex In Depression and
Schizophrenia, 21 PROGRESS IN NEURO-PSYCHOPHARMACOLOGY & BIOLOGICAL PSYCHIATRY
105-10 (1997)).

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Matthews work in 1934 investigating the effects of visual-entrainment on brain activity used EEGs

to study the resultant entrainment, as did the 1970s and later studies on electromagnetic fields and

their effect on the human brain. 17

          20.    Another example in 2005 was conducted by Dr. Jin—one of the named inventors

on the Asserted Patents. In this study, each treatment consisted of ten daily sessions during a 2-

week period. The stimulation was given for two seconds per minute for twenty consecutive

minutes per session, and the frequencies for the active stimuli were in the alpha frequency range

and were determined at the nearest integer of each patient’s average alpha peak frequency,

obtained using EEGs. The EEGs were administered at screening, immediately prior to first

treatment, immediately following the fifth and tenth treatments, and at the end. 18 While it is unclear

from the reporting whether the researchers actually changed the rTMS frequency between sessions,

because the treatment was to be administered at the subject’s individualized alpha frequency, the

study inherently teaches that the rTMS treatment changes ( or “tunes”) the individualized alpha

frequency, and the study teaches that the patient’s EEGs were retaken during the study-which

would result in a new measurement of individualized alpha frequency. This study inherently

teaches the process of adjusting the administered frequency in response to EEG measurements

taken after rTMS is administered to the subject.

          21.    One concept that frequently occurs in the literature relating to EEG and rTMS is

peak alpha frequency (“PAF”), which generally refers to the frequency at which the alpha rhythm

oscillates over a given period. PAF is referred to by a variety of different terms and definitions in

the scientific literature including, but not limited to, individualized alpha frequency (“IAF”),



17
     See supra Footnote 8.
18
     Ex. 15 (Jin) at 557-58.

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“mean frequency,” “intrinsic frequency,” “intrinsic alpha frequency,” and others. PAF can be

calculated using various methods, ranging from counting the number of oscillations or peaks in

the alpha wave over a short interval to computing the “center of gravity” of recorded EEG alpha

activity, which provides a more precise measure. 19 In the context of the Asserted Patents, these

terms can be used interchangeably, as confirmed by the specifications of the Asserted Patents,

which describe the patient (or subject)’s “intrinsic frequency” or “intrinsic alpha frequency” as

“[t]he vertical line drawn through the peaks is at 9.1 Hz, the subject’s intrinsic alpha frequency.”

See ’408 Patent, 15:5-15; ’490 Patent, 21:42-52; and ’737 Patent, Fig. 12 and 19:52-62.

        22.     As noted in Klimesch 1999,

        Frequency and power are closely interrelated measures. Usually, alpha frequency
        is defined in terms of peak or gravity frequency within the traditional alpha
        frequency range (fl to f2) of about 7.5-12.5 Hz. Peak frequency is that spectral
        component within fl to f2 which shows the largest power estimate. Alpha frequency
        can also be calculated in terms of gravity (or “mean”) frequency which is the
        weighted sum of spectral estimates, divided by alpha power.

(cleaned up, equations omitted, citations omitted.) 20

        23.     In humans, alpha frequency increases with age from about 5.5 Hz at age 1-3, to

about 10 Hz at age 15. 21 As noted above, human brains do not exhibit a single brainwave

frequency-they are always simultaneously producing brainwaves at many frequencies such as

alpha, delta, and theta, and the frequencies can change from moment to moment. IAF, PAF, and

other quantities are attempts to measure and characterize a “central,” “peak,” “dominant,” or



19
   See Ex. 19 (McLain, Natalie J. et al., Analytic Consistency and neural correlates of peak alpha
frequency in the study of pain,368 JOURNAL OF NEUROSCIENCE METHODS 3-4 (2021)) (surveying
papers using different techniques including COG and peak picking to determine PAF).
20
   Ex. 20 (Klimesch, Wolfgang, EEG Alpha and Theta Oscillations Reflect Cognitive and Memory
Performance: a review and analysis, 29 Brain Research Reviews, 169-95 (1999) (“Klimesch
1999”)) at 172.
21
   Ex. 20 (Klimesch 1999) at 175.

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otherwise characteristic frequency; but in reality, different brains are generating a multitude of

intrinsic frequencies. This is evident in real-world EEG readings, which, when translated into the

frequency domain, display one or more peaks, each representing an intrinsic frequency

characteristic of specific brain regions. Thus, because of the inherent properties of human

brainwaves, any administration of rTMS at a particular frequency (at 10 Hz, for example, thus in

the alpha band) will inherently be simultaneously: (i) at an intrinsic frequency of the brain, (ii)

above a different intrinsic frequency of the brain, and (iii) below a different intrinsic frequency of

the brain.

                          BRAINWAVE ENTRAINMENT USING rTMS

        24.     As discussed above, brainwave entrainment refers to the observation that

brainwaves (large-scale electrical oscillations in the brain) will naturally synchronize to the rhythm

of periodic external stimuli. This process is the natural phenomena that when the brain is repeatedly

stimulated at a particular frequency, the frequency(ies) of the brainwaves will change to match (or

attempt to match) the stimulation in frequency and phase. Matching frequency means that the

frequency of the brainwaves will attempt to match the frequency of the stimulus. Matching phase

means that the peaks and troughs of the brainwaves wave will move to align with (or become “in

phase with”) the external stimulation wave. This phenomenon is also referred to as coherence or

synchronization. Thus, if an intrinsic frequency of the subject is at a particular frequency f1, and a

stimulation is applied at frequency f2, entrainment will cause the intrinsic frequency of the subject

to move towards matching f2, and the peaks and troughs of the brainwaves will also move towards

alignment, matching in phase. Brainwave entrainment occurs when the brain is stimulated with




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any rhythmic stimulus, including, but not limited to, flickering lights,22 speech, 23 music, 24 or, as

in this case, rTMS pulses. “Synchronization of oscillatory activities in distributed neural

assemblies is a well-studied mechanism in the working of the brain .... Early in the history of

human brain physiology it was demonstrated that brain activities could also synchronize to external

stimuli.” 25 rTMS was known to entrain brainwave frequencies years before the priority date of the

Asserted Patents. In a 2001 paper by Okamura et al. in the Journal of Clinical Neurophysiology,

researchers published scientific evidence showing that when rTMS at 10 Hz was applied to a

subject whose PAF (measured via EEG) was less than 10 Hz, the PAF of the subject rose to 10 Hz

or more. 26




22
   Ex. 6 (Adrian and Matthews); see also Ex. 21 (Notbohm, Annika et al., Modification of Brain
Oscillations via Rhythmic Light stimulation Provides Evidence for Entrainment but Not for
Superposition or Event-Related Responses, 10 FRONTIERS IN HUMAN NEUROSCIENCE Article 10
(2016)).
23
   Ex. 22 (Ding, Nai et al., Cortical entrainment to continuous speech: functional roles and
interpretations, 8 FRONTIERS IN HUMAN NEUROSCIENCE Article 311 (2014)).
24
   Ex. 23 (Thaut, Michael H. et al, The discovery of human auditory-motor entrainment and its
role in the development of neurologic music therapy, 217 PROGRESS IN BRAIN RESEARCH Chap.
13, 253-66 (2015)).
25
   Ex. 7 (Will & Berg).
26
   Ex. 24 (Okamura, Hisataka et al., EEG Modification Induced by Repetitive Transcranial
Magnetic Stimulation, 18 JOURNAL OF CLINICAL NEUROPHYSIOLOGY 318-25 (2001)
(“Okamura”)).

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                                    Table 2 from Okamura-2001.

        25.     As shown in the above excerpt of Table 2 from Okamura-2001:

                a.       Before TMS therapy, the subject had a number of intrinsic frequencies at

                         different channels (e.g., the intrinsic frequency on channel F3 was 8.413

                         Hz).

                b.       Then, according to the experimental protocol, rTMS was applied at 10Hz.

                         See Okamura-2001, Summary.

                c.       Then, according to the experimental protocol, the subject’s intrinsic

                         frequencies were measured again. The subject’s intrinsic frequency (again

                         on top row, recording channel F3) was 10.33 Hz at the time period 0-1

                         minutes after rTMS, and 10.26 Hz 1-2 minutes after rTMS.

        26.     Okamura’s published scientific research shows that, years before the priority date

of the Asserted Patents, the natural law and phenomenon of brainwave entrainment through rTMS

was known, practiced, and published; and that so-called “methods” of modifying brain

characteristics (such as intrinsic frequencies or phase) through the use of rTMS pulses is simply

the body’s natural and expected physiological response to external stimuli.


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        27.     In other studies, e.g., Jin-2005, the same effect—i.e. changing certain

characteristics of the brain such as intrinsic frequencies with the application of rTMS—is referred

to as “tuning.” The ability to “tune” brain states was experimentally verified. See Ex. 15 (Jin-2005)

(“It was proposed that the resonance ‘tuning’ of the peak alpha oscillations would serve to increase

the power density in this frequency range and thereby improve negative symptoms. The results

have provided support for these hypotheses ....”) This effect of rTMS on the brain is simply

entrainment-the natural law or inherent physiological reaction of the brain tissues to stimulation at

various frequencies-and is referred to variously in the literature as “entrainment,” “driving,”

“adjusting,” or “moving” the brain characteristics.

        28.     Thus, it was a well-known, published, scientific fact that when rTMS is

administered to the brain of a subject, the subject’s intrinsic frequency will move in the direction

of the frequency of the rTMS administered. Further scientific studies have confirmed this result.27

        29.     This result is not limited to changing the subject’s intrinsic frequency; it extends to

other characteristics of the subject’s brainwaves, such as the EEG phase. 28 Certain claims of the

Asserted Patents substitute “EEG phase” for “intrinsic frequency” as the brain characteristic

driven, moved, or adjusted by rTMS therapy. However, as discussed throughout, this is simply

another example of the natural law of neurological entrainment. Entrainment is not the result of a

particular machine or process-it is simply the natural response of the human brain to external

stimulation. That natural response includes, among other things, that a rhythmic stimulation

applied to the brain (be it rTMS, flickering lights, auditory stimulation, or other means) induces


27
   See, e.g., Ex. 25 (Thut, Gregor et al., Rhythmic TMS causes local entrainment of natural
oscillatory signatures, 21 CURRENT BIOLOGY 1176-85 (2011)).
28
   See, e.g., Ex. 26 (Faller, Josef et al., Daily prefrontal closed-loop repetitive transcranial
magnetic stimulation (rTMS) produces progressive EEG quasi-alpha phase entrainment in
depressed adults, BRAIN STIMUL. (2022).

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the brainwaves to match that rhythm. One aspect of the matching process is frequency, where the

frequency of brainwaves moves in the direction of the external rhythm frequency. Another aspect

is phase, where the “beats” or peaks and troughs of those brainwaves move to synchronize with

the external rhythm. EEG measures both aspects. When EEG alpha activity becomes entrained

with the external stimulation, the phase of the alpha becomes synchronized to the phase of the

stimulation, with an end-result that the quantified IAF/PAF becomes the same as the externally

applied stimulation, as depicted in the diagram below.




                                          Exemplary Figure

        30.     Figure la above demonstrates the concept of entrainment, where in the beginning

the light green signal is 8.9 Hz, but with external entrainment with the dark green external 9 Hz

signal the frequencies become identical towards the end, and the phase for both signals becomes

entrained. This demonstrates how frequency and phase are intrinsically connected within the

concept of entrainment, representing complementary aspects of the same phenomenon.

        31.     Certain claims of the Asserted Patents replace “intrinsic frequency”—the brain

characteristic to be “moved” or “tuned” by rTMS therapy—with a term defined by the inventor as

“q-factor.” Q-Factor is a generic concept in physics and engineering, typically understood to relate

to the “quality” of a resonating or oscillating circuit. 29 Outside of the Asserted Patents, Q-factor is



29
   See Ex. 27 (Tooley, Michael, Electronic Circuits, Fundamentals and Applications, at 74-75
(Newnes 2d. ed. 2002) (“Quality factor; The quality of a resonant (or tuned) circuit is measured
by its Q-factor. The higher the Q-factor, the sharper the response (narrower bandwidth), conversely
the lower the Q-factor, the flatter the response (wider bandwidth).”).

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uncommonly used in EEG or psychophysiology; though it had been studied, experimented upon,

and published before the priority date of the Asserted Patents. 30 The Asserted Patents appear to

use it to quantify the amount of resonance resulting from rTMS or, in other words, how well the

brain is actually entraining.

        32.     In the Asserted Patents, Q-Factor is defined by reference to Fig. 12 as follows: “The

Q-factor is defined as the ratio of f0 / Δf. As can be seen, when ΔF decreases for a given f0, the q-

factor will increase. This can occur when the peak energy Emax of the signal increases or when the

bandwidth of the EEG signal decreases.”




30
   See Ex. 28, (Jin, Yi et al., Alpha EEG Selectivity Predicts Efficacy Of RTMS In Schizophrenia,
ABSTRACTS OF THE XX INTERNATIONAL CONGRESS ON SCHIZOPHRENIA RESEARCH at 455 (2005)
(“The selectivity of a resonant system can be described by quality factor, Q. For small damping it
can be identified with Q = fp/(fl-f2), where fp is the resonant frequency, and fl-f2 is a half-power
bandwidth (HPB) around the resonance. . . . rTMS rate was set at the alpha EEG resonant
frequency. . . . Clinical symptoms and EEG were evaluated at baseline and after 10 treatments at
each condition. . . . Analysis of EEG at Fz revealed a significant increase in alpha EEG selectivity
(Q = 2.60 . . .) after the active rTMS as compared with baseline (Q = 2.17 . . .). Using 11 cases
who had completed both EEG and clinical evaluations, we found that the clinical improvement in
negative symptoms was significantly correlated with the degree of increase in Q-factor . . . . These
data provide evidence that human alpha EEG can be tuned by direct electromagnetic
stimulation.”)).

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’408 Patent, Fig. 12 and 15:49-59; ’490 Patent, Fig. 12 and 22:19-29; ’737 Patent, Fig. 12 and

20:31-41.

        33.     In other words, Q-factor is the ratio of the frequency f0 (where peak power resides)

to the width of the wave at Emax / 2 (i.e., bandwidth at half peak power). If the wave stays the

same width but the power increases, Q-factor goes up. If the power goes down and the width stays

the same, Q-factor goes down.

        34.     As discussed above, the natural physiological response of the brain to rhythmic

stimulation (i.e., entrainment) is for the brainwaves to move towards or match the applied stimulus.

Given the Asserted Patents’ definition of Q-factor, the natural phenomenon of neural entrainment

implies that as entrainment of the brainwaves is achieved, the amplitude of the entrained frequency

generally goes up (as previously time-separated pulses overlap, their amplitudes are added

together), and the width of the band (Δf at Emax / 2) generally decreases due to the effect of the

synchronized alpha waves. Thus, the Q-factor (under the Asserted Patents’ definition) must

inherently go up.

        35.     As noted above, this finding was experimentally confirmed and published before

the priority date of the Asserted Patents. 31 Scientists (including one of the inventors of the

Asserted Patents) administered rTMS at the subject’s “peak frequency,” and “clinical symptoms

and EEG were evaluated at baseline and after.” The results indicated that the Q-factor increased

(from 2.17 to 2.6) and that “clinical improvement in negative symptoms was predicted by the

degree of increase in Q-factor.”




31
  See, e.g., Ex. 29 (Jin, Y. et al., Improvement in Alpha EEG Selectivity and Negative Symptoms
in Schizophrenia Following rTMS Treatment, 35:4 CLINICAL EEG & NEUROSCIENCE 224-25
(Wheaton 2004)).

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                                  CONTROL OF rTMS MACHINES

         36.    Existing rTMS machines sold in the United States prior to 2007 used processors to

control the firing of the magnetic field. For example, the MagVenture R30 contained a processor

which allowed the user to set and administer various frequencies, field strengths, pulse trains,

durations, and other characteristics of the rTMS therapy on the machine itself. In addition, this

machine was, and is, configured with a data port (a/k/a COM2) which allows it to be controlled by

an external computer or processor. 32

                               ANALYSIS OF THE ASSERTED CLAIMS

         37.    I am informed by Defendant’s counsel that, in the present action, the “Asserted

Claims” of the Asserted Patents are:

                a. Claims 1 – 4, 8, 9, and 11 of the ’737 Patent;

                b. Claims 1 – 4, 9, 10, 12, and 20 of the ’408 Patent; and

                c. Claims 1 and 9 of the ’490 Patent.

         38.    I address each of the Asserted Claims below. In summary, it is my opinion that

each of the Asserted Claims is directed to the natural phenomenon of brainwave entrainment

through the use of TMS.

                               Claims 1 – 4, 8, 9, and 11 of the ’737 Patent

         39.    Independent Claims 1 and 2 of the ’737 Patent each recite a generic TMS device

and related concepts, which were all well known in the TMS community before 2007 as discussed

herein. These include electromagnets, magnetic fields, processors, intrinsic frequencies, and EEG

bands. As discussed above, rTMS devices were well known prior to the Asserted Patents, and all

TMS devices from that time have magnets (almost all of which are electromagnets), magnetic


32
     Ex. 30 (MagVenture 3/13/2024 Depo. Tr.) at 64:20-67:15.

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fields, and processors. Likewise, all healthy human brains have intrinsic frequencies within

specific EEG bands. Thus, structurally, Claims 1 and 2 contain nothing that was not well known

and in common use prior to the time of the patent.

        40.     Claims 1 and 2 claim each a method (or the process) of using the foregoing generic

TMS device for “adjusting output of a magnetic field” and thereby “moving, using the magnetic

field” “an intrinsic frequency of a specified EEG band of the subject toward a pre-selected intrinsic

frequency of the specified EEG band” or, for claim 1 only, “a Q-factor of an intrinsic frequency

within a specified EEG band of the subject toward a pre-selected Q-factor.” Both claims thus

squarely cover the natural phenomenon of brainwave entrainment, i.e., moving the brain’s intrinsic

frequency via exposure to a rhythmic stimulus such as a magnetic field. Applying rTMS using

electromagnets positioned close to the head is inherent in this technology as explained above in

par. 11.

        41.     One aspect of both claims involves “pre-selecting” a target intrinsic frequency or

Q-factor. As discussed above, using a TMS device inherently involves setting a frequency for it

to operate at, and that setting is done before the machine is activated to administer therapy to the

patient. Thus, any use of a TMS device inherently involves a “pre-selected” frequency or “Q-

factor.” This is also specifically disclosed in Yin-2005. Specifically, the “Procedure” section

confirms that EEG was taken before the rTMS treatment and that the treatment frequency was

individualized based on the EEG results. Yin-2005 at pg. 557. Specifically, it states that “[t]he

frequencies for the active stimuli were 3 Hz, individualized alpha (8–13 Hz) and 20 Hz. Rate for

the alpha frequency stimulation was determined at the nearest integer of each patient’s average

alpha peak frequency, obtained from 5 frontal EEG leads (F7, F3, Fz, F4, F8).” Id. (emphasis

added). Notably, I understand that the Court has construed the term “the intrinsic frequency” as



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““frequency at which peak signal power is located to which treatment is to be applied.” This confirms

my understanding that the patient’s average alpha peak frequency is what is referred to as the

intrinsic frequency in the Asserted Patents. Similarly, this technique is also disclosed in Klimesch-

2003, which describes rTMS experiments where he initially measured the subject’s intrinsic alpha

frequency (“IAF”) using EEG and then administered rTMS therapy at a “pre-selected / target

frequency” of that measured frequency + 1 Hz. During these experiments, he also administered,

as a control condition, rTMS at other frequencies at a variety of frequencies below IAF (e.g., IAF

- 5 Hz, IAF - 3 Hz, etc.) See Ex. 13 (Klimesch-2003 at 1132 (page 4 of PDF)). This research shows

that rTMS was known and used years before the priority dates of the Asserted Patents as a

treatment for various symptoms, and that it was administered both at patients’ intrinsic frequencies

( e.g., “TMS at IAF”) and at other pre-selected frequencies in the alpha band or sub-bands near

IAF. Thus, using an EEG to determine a patients intrinsic frequency, and pre-selecting a frequency

based on that measurement to use during treatment was well known in the art.

        42.     Similarly, as discussed above, the administration of rTMS, as known before the

Asserted Patents, necessarily resulted in “moving” an intrinsic frequency to a pre-selected value

(i.e., the frequency to which the machine is set) because this is the natural physiological result of

brainwave entrainment in response to TMS. This was actually done and documented before the

Asserted Patents by the scientists cited above, including, for example, Okamura. Indeed, because

entrainment is a natural physiological response to external stimuli such as TMS, use of rTMS in

the alpha band necessarily results in at least short-term entrainment of the patient’s brainwaves to

the stimulating frequencies, as demonstrated for example by Okamura. Thus, any administration

of rTMS in the alpha band will result in “moving” that intrinsic frequency or Q-Factor to or toward

the frequency or Q-Factor at which the machine is set.



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        43.     I note further that the “intrinsic frequency” and Q-Factor” elements of Claim 1 of

the ’737 Patent are limiting only in the alternative, i.e., the claim requires moving “at least one of”

“an intrinsic frequency” or “a Q­factor.” As discussed above, both alternatives are simply aspects

of the same natural phenomenon of brainwave entrainment: when an external rhythmic stimulation

is administered to the human brain, the brainwaves will become entrained in frequency and phase.

As a result, the Q-factor (as defined by the Asserted Patents) will increase as a result of the

synchronization of the brain’s alpha rhythms with frequency of rTMS. This was confirmed, for

example, in Jin, Y. et al., Improvement in Alpha EEG Selectivity and Negative Symptoms in

Schizophrenia Following rTMS Treatment, 35:4 CLINICAL EEG & NEUROSCIENCE 224-25

(Wheaton 2004).

        44.     The claims further list the inherent effects of movement of the intrinsic frequency

(or related Q-Factor): “wherein the pre-selected intrinsic frequency is a frequency that increases

(claim 1) or decreases (claim 2) blood flow in the cortex of the subject” and, for claim 1 only,

“wherein the pre-selected Q-factor is a Q-factor that increases blood flow in the cortex of the

subject.” The claim language explicitly cites a known effect: either increasing the intrinsic

frequency (or Q-Factor) to increase blood flow in the cortex of the subject (claim 1), or decreasing

the intrinsic frequency to decrease blood flow (claim 2). Further, together, the two claims claim

all possible outcomes of applying any kind of magnetic field to the head of a subject, i.e., either

increasing or decreasing the intrinsic frequency (and thereby the Q-Factor, which is defined using

the intrinsic frequency).

        45.     Thus, for the reasons discussed above, it is my opinion that Claims 1 and 2 of the

’737 Patent are directed to the natural law and abstract idea of brainwave entrainment through the




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use of rTMS. Further, Claims 1 and 2 add no technology, innovation, or inventive concept to that

natural law which was not already known in the art before the priority date of the Asserted Patents.

        46.     Regarding dependent claims 3, 4, 8, 9, and 11, none add any non-trivial idea or

concept to this analysis. Claim 3 adds taking an EEG measurement before and/or after applying

the magnetic field to monitor the intrinsic frequency / Q-Factor, which was known. See Adrian

and Matthews, 1934. Claim 4 adds “determining” the intrinsic frequency or Q-Factor, which is

inherent in claims 1 and 2 to detect movement thereof. Claim 8 adds the time period of applying

the field, which was known. Jin-2005. Claim 9 adds repeating the process, which was also known.

See par. 14 supra. Claim 11 specifies improving depression symptoms, as measured by HAMD

scores through rTMS, which was known. Jin-2005. The dependent claims do nothing more than

recite well understood conventional steps that were known in rTMS.

                          Claims 1 – 4, 9, 10, 12, and 20 of the ’408 Patent

Method Claims 1 – 4, 9, and 10

        47.     Independent method Claim 1 of the ’408 Patent is even broader than claims 1 and

2 of the ’737 Patent and recites generic application of brainwave entrainment that is a natural

phenomenon that was well known before the time of the Asserted Patents.

        48.     Claim 1 claims only treating various conditions by “adjusting a setting of a

magnetic field” that is “configured to move one or more of an intrinsic frequency, a Q-Factor, a

coherence value, or an EEG phase” and then “applying said magnetic field close to the head of a

subject.” That, of course, is tantamount to the definition of brainwave entrainment—applying any

magnetic field close to the head of a subject necessarily moves phase and frequency of the intrinsic

frequency of the subject, and thereby inherently also changes the Q-factor and coherence value.

        49.     The EEG phase is also a characteristic of brainwaves that is naturally entrained by

the external stimulation of rTMS, like intrinsic frequency and Q-factor. See par. 29 (fn. 29) supra.

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Further, as explained in par. 24 supra, matching the phase means that the peaks and troughs of the

brainwaves wave will move to align with (or become “in phase with”) the external stimulation

wave, which is a phenomenon referred to as coherence or synchronization. The fact that claim 1

refers to this as “coherence value” does not change this natural concept.

        50.     Notably, the elements relating to “intrinsic frequency,” “Q-Factor,” “coherence

value,” “EEG phase,” “or a combination thereof”) are limiting only in the alternative—the claim

requires moving only “one or more” of them. As discussed above, these alternative elements are

simply other aspects of the natural law of brainwave entrainment: when an external rhythmic

stimulation is administered to the human brain, the brainwaves will become entrained, in frequency

and phase. As a result, the Q-factor (as defined by the Asserted Patents) will necessarily change

as a result of the synchronization of the brain’s alpha rhythms with frequency of rTMS.

        51.     Claim 1 further claims “wherein the magnetic field comprises one or more magnetic

field generators that are of the same frequency and are in-phase with each other, of the same

frequency and out of phase with each other, or a combination thereof.” This limitation is

meaningless. Any two signals that are of the same frequency, whether they are magnetic fields,

light waves, or audio waves, must necessarily be either “in-phase with each other, out of phase

with each other, or a combination thereof.” Thus, this limitation simply boils down to two

magnetic fields of the same frequency. Applying two magnetic fields at the same frequency to the

head of a subject in rTMS was well known prior to the priority date of the Asserted Patents. See,

e.g., Ex. 31 (Medtronic MCF-Coils User Guide). This is the user manual for a line of rTMS coils

including the MCF-B65, which contains two separate windings, each generating its own magnetic

field, both at the same frequency.




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        52.     Independent method Claim 2 similarly recites treating several conditions by

“moving” an intrinsic frequency or Q-Factor “by applying a magnetic field close to a head of the

subject” comprising a single target frequency, or a plurality of frequencies, or the intrinsic

frequency. This limitation, in other words, covers any frequency or combination of frequencies.

Both claims again effectively claim only the natural phenomenon of brainwave entrainment, and

the difference, relating to using either one frequency or any combination of frequencies is

immaterial. This again simply implicates the natural phenomenon of brainwave entrainment, since

subjecting the human brain to a magnetic field inherently causes brain entrainment.

        53.     Thus, for the reasons discussed above, it is my opinion that Claims 1 and 2 of the

’408 Patent are directed to the natural law and abstract idea of brainwave entrainment through the

use of rTMS. Further, Claims 1 and 2 of the ’408 Patent add no technology, innovation, or

inventive concept to that natural law which was not already known in the art before the priority

date of the Asserted Patents.

        54.     Regarding dependent claims 3, 4, 9, and 10, none add any non-trivial idea or

concept to this analysis. Claim 3 adds taking an EEG measurement before and/or after applying

the magnetic field to monitor the intrinsic frequency / Q-Factor, which was known. See Adrian


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and Matthews, 1934. Claim 4 adds adjusting the magnetic field based on the EEG, which was

known. In other words, Claim 8 seeks to claim the step of administering rTMS, taking an EEG

measurement to see if it worked, adjusting the treatment, and trying again—the basis for many

medical treatments, and taught specifically in Jin-2005 as discussed above. Claim 9 adds the time

period of applying the field, which was known. Jin-2005. Claim 10 adds repeating the process,

which was also known. See par. 14 supra. The dependent claims do nothing more than recite well

understood conventional steps that were known in rTMS.

System Claims 12 and 20

        55.     Independent system claim 12 merely implements parts of the method of claim 1

using a computer system comprising only known components, i.e., computer means comprising a

first (and optional second) computer processor for controlling a magnetic field and applying said

magnetic field close to the head of a subject. ’408 Patent, claim 12. The system components add

nothing novel to the claimed invention, and literally serve only to implement the very method of

claim 1, which in turn comprises only the natural phenomenon of brainwave entrainment using a

magnetic field as previously explained.

        56.     Dependent system Claim 20 only adds logic able to calculate the intrinsic frequency

or Q-Factor from the EEG data. From the perspective of the relevant field of technology, there is

nothing novel in this determination.

                                Claims 1 and 9 of the ’490 Patent

        57.     Independent Claim 1 merely claims the natural phenomenon of brainwave

entrainment using rTMS to treat depression, as implemented using computer equipment. It first

recites “a magnetic field generator adapted to apply a magnetic field to a head of the subject.” This

is inherent in rTMS treatment. See supra, par. 11. Claim 1 further recites that the “magnetic field

generator comprises a non-transitory computer readable medium” and “a processor,” both

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components known in the art of existing rTMS machines. The non-transitory computer readable

medium stores a “subject data value” which comprises a subjects intrinsic frequency, a Q-factor,

a coherence value between two intrinsic frequencies from two different sites in the brain, or an

EEG phase between two different sites in the brain. How to derive these values from an EEG was

known. See supra, par. 8; see also Dkt. 32-5 (Bikson Dec.) at ¶61 (“Each subject has their own

internal, i.e. intrinsic, frequency which can be measured by an EEG.”) The EEG phase is another

characteristic of brainwaves which is naturally entrained by the external stimulation of rTMS), like

intrinsic frequency and Q-factor. See supra, par. 29. The processor controls the magnetic field to

“move the first intrinsic frequency in a pre-selected direction, up or down,” “move the Q-factor of

the first intrinsic frequency in a pre-selected direction, up or down”, “move the coherence value”

or “move the EEG phase of the specified EEG frequency.” Finally, because all human intrinsic

frequencies are inherently within “an EEG band,” the “EEG band” limitation is meaningless (as

discussed above). This means that claim 1 effectively claims merely the natural phenomenon of

brainwave entrainment executed using a computer system.

        58.     The claim further lists the automatic known effects of that movement of the intrinsic

frequency and related Q-Factor: “wherein the magnetic field increases the blood flow of a cortex

of the brain or decreases the blood flow of a lower region of the brain.” ’490 Patent, claim 1.

Notably, the claim hedges its bets by claiming “wherein the magnetic field increases the blood

flow of a cortex of the brain or decreases the blood flow of a lower region of the brain.” This

ambiguity renders this claim limitation meaningless. It simply observes a known effect, that

changes in the magnetic field affect the blood flow in the region of the brain to which it is applied.




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              59. Dependent Clairn 9 only adds standard computer logic to "calculate the subject data
value from EEG data" without disclosing how to do so. This merely irnplements a known method

on known standard computer logic.

             60. Thus, it is my opinion that Claims I and 9 of the '490 Patent are directed to the
natural law and abstract idea of brainwave entrainment through the use of rTMS. Fufther, Claims

 I and 9 add no technology, innovation, or inventive concept to that natural law which was not
already known in the art before the priority date of the Asserted Patents.




             I declare under penalty of perlury under the laws of the United States of America that the

testimony provided herein is true and correct to the best of my




Executed on: February 6,2025




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